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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


          United States of America                  )
                     v.                             )
                                                    )
            CHARL LE ROUX                           )         Case No. 21-mj-108-MEH
                                                    )
                 Defendant                          )




_______

                GOVERNMENT’S MOTION TO RESTRICT DOCUMENT


       The United States of America, by and through Acting United States Attorney Matthew T.

Kirsch and the undersigned Assistant United States Attorney, respectfully moves to restrict the

portions of the Affidavit in Support of the Arrest Warrant, ECF No. 01-01, as reflected in

Attachment 1 to this Motion, and any order revealing the content of the portions to be restricted.

The United States requests a “Level 1" Restriction which would make the redacted portions of

the document, and any order revealing the unredacted contents of that document, “viewable by

filing Parties & Court,” only until further Order by the Court.

       Respectfully submitted this 22nd day of June, 2021.

                                                        MATTHEW T. KIRSCH
                                                        Acting United States Attorney

                                              By:       s/ Bryan David Fields
                                                        BRYAN DAVID FIELDS
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                               CERTIFICATE OF SERVICE

      I hereby certify that on February 22, 2021, I electronically filed the foregoing
GOVERNMENT’S MOTION TO RESTRICT DOCUMENT with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to any and all counsel of record.


                                            s/ Bryan David Fields
                                            United States Attorney’s Office
